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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
COMMONWEALTH OF                      )
MASSACHUSETTS, et al.,               )
                                     )
            Plaintiffs,              )
                                     )
                                     )    Civil Action No. 25-CV-10338-AK
v.                                   )
                                     )
NATIONAL INSTITUTE OF                )
HEALTH, et al.,                      )
                                     )
            Defendant[s].            )
                                     )

              ORDER GRANTING PLAINTIFF STATES’ EX PARTE
         EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

ANGEL KELLEY, D.J.

       Plaintiff States’ Ex Parte Emergency Motion For Temporary Restraining Order [Dkt. 4]

is GRANTED. Defendants and their officers, employees, servants, agents, appointees, and

successors are hereby enjoined from taking any steps to implement, apply, or enforce the Rate

Change Notice (NOT-OD-25- 068) within Plaintiff States until further order is issued by this

Court. Counsel for Defendants shall file a status report with the Court within 24 hours of the

entry of this Order, and at biweekly intervals thereafter, confirming the regular disbursement and

obligation of federal financial assistance funds and reporting all steps that NIH, HHS and their

officers, employees, servants, agents, appointees, and successors have taken to comply with the

Court’s temporary restraining order.

       Defendants’ opposition to the Motion is due by Friday, February 14, 2025. Plaintiff

States may file a reply brief, limited to ten pages in length, by Tuesday, February 18, 2025.

Counsel shall appear in-person for a hearing on the Motion at 10:00 AM on Friday, February



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21, 2025. Counsel for the Plaintiff States shall provide a copy of this Order, along with copies of

the motion papers, to the following by 6:00 PM today: Brad P. Rosenberg, Special Counsel,

Federal Programs Branch, Civil Division, U.S. Department of Justice; Leah Foley, U.S. Attorney

for the District of Massachusetts; and the Chief of the Civil Division of the U.S. Attorneys Office

for the District of Massachusetts. Electronic service suffices.

       This Temporary Restraining Order shall become effective immediately upon entry by this

Court. It shall remain in effect until further order of this Court.

       SO ORDERED.

Dated: February 10, 2025                                       /s/ Angel Kelley
                                                               Hon. Angel Kelley
                                                               United States District Judge




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